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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                               August 24, 2021
                         UNITED STATES DISTRICT COURT
                                                                              Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION

The STATE OF TEXAS; and the                §
STATE OF LOUISIANA,                        §
                                           §
      Plaintiffs,                          §
                                           §
v.                                         §              Civil Action No. 6:21-cv-00016
                                           §
The UNITED STATES OF AMERICA;              §
ALEJANDRO MAYORKAS, Secretary              §
of The United States Department of         §
Homeland Security, in his official         §
capacity; UNITED STATES                    §
DEPARTMENT OF HOMELAND                     §
SECURITY; TROY MILLER, Senior              §
Official Performing the Duties of the      §
Commissioner of U.S. Customs               §
and Border Protection, in his official     §
capacity; U.S. CUSTOMS AND BORDER          §
PROTECTION; TAE JOHNSON, Acting            §
Director of U.S. Immigration and           §
Customs Enforcement, in his official       §
capacity; U.S. IMMIGRATION AND             §
CUSTOMS ENFORCEMENT; TRACY                 §
RENAUD, Senior Official Performing the     §
Duties of the Director of the U.S.         §
Citizenship and Immigration Services,      §
in her official capacity; and U.S.         §
CITIZENSHIP AND IMMIGRATION                §
SERVICES,                                  §
                                           §
      Defendants.                          §

                                        ORDER

      The Court is modifying the reporting requirements listed at the end of the August

19, 2021 Memorandum Opinion and Order in light of the request made by the Defendants

at a hearing held on Monday, August 23, 2021. See (Dkt. No. 79 at 158–59); (Dkt. No. 80).
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During that hearing, the Court clarified that the reporting requirements are not injunctive

relief. See (Dkt. No. 79 at 156 n.61, 158–59); (Dkt. No. 90 at 2). Rather, the reporting

requirements are a case-management tool intended to both monitor compliance with the

preliminary injunction and aid the Court in making a final determination at trial. (Dkt.

No. 90 at 2–4).

       At the hearing, counsel for the Defendants requested certain modifications to the

reporting requirements.       Counsel further requested leave to offer additional

modifications after consulting with his clients. Specifically, the Defendants requested an

extension of time to comply with the four reporting requirements and clarification as to

whether the reporting deadlines include weekends and federal holidays. See (Dkt. No.

79 at 158–59). The Parties then agreed to a one-month extension of the reporting

requirements, which the Court granted. The Court also clarified that any reporting

deadline that falls on a weekend or legal holiday is moved to the first federal court

business day following that weekend or legal holiday. See generally Fed. R. Civ. P. 6.

       It is therefore ORDERED that the deadlines to comply with the reporting

requirements in the August 19, 2021 Memorandum Opinion and Order, (Dkt. No. 79 at

158–59), do not begin until October 2021.

       It is further ORDERED that any deadline to comply with the reporting

requirements in the August 19, 2021 Memorandum Opinion and Order, (Dkt. No. 79 at

158–59), that falls on a weekend or legal holiday is moved to the first federal court

business day following that weekend or legal holiday.




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      The Court GRANTS the Defendants’ request to file additional proposed

substantive revisions to the reporting requirements after conferring with the Plaintiffs.

The Court requests that those proposed revisions be filed no later than September 1, 2021.

      It is SO ORDERED.

       Signed on August 23, 2021.



                                                _____________________________________
                                                         DREW B. TIPTON
                                                 UNITED STATES DISTRICT JUDGE




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